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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 JONESBORO DIVISION

MICHAEL D. ALCORN;                                                                     PLAINTIFFS
and MILDRED A. ALCORN

v.                                     NO. 3:13CV00182 JLH

UNITED STATES OF AMERICA;
and JESSICA ANN JOHEIM                                                              DEFENDANTS

                                    ORDER OF DISMISSAL

       Having been notified by counsel that a settlement has been reached in this matter, the Court

finds that this case should be dismissed.

       IT IS THEREFORE ORDERED that the complaint and all claims in this action against

defendants be, and they are, hereby dismissed with prejudice.

       The Court retains complete jurisdiction for sixty (60) days to vacate this order and to reopen

the action if it is satisfactorily shown that settlement has not been completed and further litigation

is necessary.

       IT IS SO ORDERED this 18th day of March, 2015.



                                                      ________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
